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EXHIBIT “R”
Case o-24-Qo0/1-asSt DOC lo-lo Filed ti/iyv/2z4 entered Llilyi2z4 10lo9706
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UNITED STATES BANKRUPTCY COURT
EFASTERN DISTRICT OF NEW YORK

~ oe ee eee ee eee eee x
In Re: Chapter 7
Blue Diamond Air Systems, Inc., Case No.
822-72698-AST
Debtor
~ oe ee eee ene x

400 Garden City Plaza
Garden City, New York
May 22, 2024

1:33 p.m.

Rule 2004 Examination of STEPHEN
DiMEGLIO, taken by Counsel for the Trustee,
pursuant to Subpoena, before Bonnie Kreuzburg, a
Shorthand Reporter and Notary Public within and
for the State of New York.

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S. DiMeglio
page.
A. Yes.
Q. It says no amount claimed. I guess
you just weren't sure?
MS. GIUGLIANO: Can I answer that?
MR. FARINA: It's okay.
MS. GIUGLIANO: If you click on the
claim, you'll see a rider and there is an
amount.

MR. FARINA: Do you remember how much

it is for? Close to these guys or the
others?

MS. GIUGLIANO: I don't know. I'm not
going to --

MR. FARINA: It's okay. I was just
curious.

MS. GIUGLIANO: There is a rider. It
says the amount.

MR. FARINA: There is a rider to the
account. Okay. Counselor, I'll accept your
representation.

Q. So now you sold your interest in Blue

Diamond Sheet Metal and Mirage Mechanical and

Diam-N-Blu.

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S. DiMeglio
Were you going around having any
interaction with the debtor, Blue Diamond Air
Systems, Inc. after December 22, '20? Did you
drive by? Were you talking to people about what
was going on over there or just checked out?
A. I went there a couple of times,
because IT still had some stuff there. Personal

stuff there.

Q. Oh, okay.

A. And according to Al, it was okay. It
was no big rush to get it out of there.

QO. After, did you perform any services?
December 22, 2020 happened. Did you do anything?

A. No.

Q. T'll show you Trustee's Exhibit 11,
please.

MS. GIUGLIANO: Can I ask you to
clarify when you say doing anything?
Q. Did you perform any services, any type
of services; work, labor, consulting?
A. Nothing. Nothing at all.
Q. All right. Trustee's Exhibit 11,
which is a consulting agreement.

A. Okay.

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S. DiMeglio

Q. Which was provided to us in connection
with the subpoena by your counsel. And if you go
to page 7, you'll see that you signed that.

A. Yeah, I signed it.

Q. So, according to this agreement, you
were supposed to receive 3,683.33, which included
a 350 gas allowance.

Did you perform any consulting

services?
A. No.:
Q. So you never performed any consulting

service in connection with Trustee's Exhibit 11,
never at all?

A. No.

Q. Did you get any other perquisites
after you sold your shares? Did they pay car
insurance, health insurance or anything?

A. No.

Q. Did any of your family members or
friends receive any compensation from the debtor
or from the former entities from January 1, 2018
to October 2022? Like did you have a family
member or friend that worked at Blue Diamond Sheet

Metal, Inc.?

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